Case 3:18-cv-00966-SMY Document 261 Filed 02/08/22 Page 1 of 15 Page ID #4611




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

CATHERINE ALEXANDER,                   )
                                       )
            Plaintiff,                 )
                                       )
     -vs-                              )
                                       )
TAKE-TWO INTERACTIVE SOFTWARE, INC., )
2K GAMES, INC.; 2K SPORTS, INC.; WORLD )                  Case No. 3:18-cv-966-SMY
WRESTLING ENTERTAINMENT, INC.;         )
VISUAL CONCEPTS ENTERTAINMENT;         )
YUKE’S CO., LTD.; AND YUKE’S LA INC.,  )
                                       )
                                       )
            Defendants.                )

               DEFENDANTS’ OBJECTIONS AND RESPONSES TO
      PLAINTIFF’S FIRST AMENDED RULE 26(a)(3) PRETRIAL DISCLOSURES

       Take-Two Interactive Software, Inc., 2K Games, Inc., 2K Sports, Inc., Visual Concepts

Entertainment, and World Wrestling Entertainment, Inc. (collectively, “Defendants”), by

counsel, and in accordance with Federal Rule of Civil Procedure 26(a)(3) and in response to the

Court’s Order dated January 25, 2022 (Dkt. 258) submit the following objections and responses

to Plaintiff’s First Amended Pretrial Disclosures (Dkt. 253) (“Pl.’s 26(a)(3) Discl.”).

I.     LIVE TESTIFYING WITNESSES

       Defendants object to Plaintiff’s Witness No. 7—namely “[a]ny witness, employee,

officer or representative of any Defendant who is present in the courtroom at any point during

trial,” Pl.’s 26(a)(3) Discl., at 2—as Rule 26(a)(3)(i) required Plaintiff to identify her witnesses

by name. Accordingly, the Court should strike Plaintiff’s Witness No. 7. See Fed. R. Civ. P.

37(c)(1); see also Watts v. 84 Lumber Co., No. 14 Civ. 327, 2016 WL 7732935, at *1 (S.D. Ill.

Feb. 12, 2016) (striking un-named witnesses from party’s Rule 26(a)(3) disclosures). Plaintiff’s


                                                  1
Case 3:18-cv-00966-SMY Document 261 Filed 02/08/22 Page 2 of 15 Page ID #4612




Witness No. 7 also violates the parties’ stipulation that no party “will offer lay or expert

witnesses not previously disclosed pursuant to the applicable rules.” (Dkt. 211 ¶ 11.) In

addition, Plaintiff did not list such witnesses in any Final Pretrial Order submission exchanged

between the parties or submitted to the Court and, thus, has waived such unknown witnesses.

See Mankey v. Bennett, 38 F.3d 353, 358–59 (7th Cir. 1994) (upholding exclusion of witness not

listed in pretrial order).

II.     TESTIMONY THROUGH DEPOSITION DESIGNATION

        Defendants shall submit deposition designations, counter-designations, and/or objections

to Plaintiff’s deposition designations and counter-designations as part of a joint submission

pursuant to both the Court’s Order dated January 25, 2022 (Dkt. 258) and the Court’s

instructions at the Pretrial Conference held on January 24, 2022. (See Dkt. 260, at 14:2–23.)

Defendants reserve the right to object to Plaintiff’s forthcoming designations and any counter-

designations on any basis previously identified or otherwise, or on the basis of any later-filed or

granted motion in limine, any stipulations made by the parties, or any further order of the Court.

Defendants further reserve the right to identify counter-designations to Plaintiff’s forthcoming

designations, whether previously identified or not. Defendants reserve the right to play any of

their counter-designations in response to any designated testimony played by Plaintiff at trial.

III.    EXHIBITS

        Defendants object to Plaintiff’s amended exhibit list, Pl.’s 26(a)(3) Discl., Ex. B, as

indicated below.


   Plaintiff’s
                                      Description                           Defendants’ Objections
  Exhibit No.
       1          Certificate of Registration from the U.S. Copyright
                  Office – Dove [ALEXANDER000060‐61]


                                                  2
Case 3:18-cv-00966-SMY Document 261 Filed 02/08/22 Page 3 of 15 Page ID #4613




   Plaintiff’s
                                      Description                         Defendants’ Objections
  Exhibit No.
       2         Certificate of Registration from the U.S. Copyright
                 Office – Rose [ALEXANDER000062]
       3         Certificate of Registration from the U.S. Copyright
                 Office – Skulls [ALEXANDER000063‐64]
       4         Certificate of Registration from the U.S. Copyright
                 Office – Tribal Addition [ALEXANDER000065‐66]
       5         Certificate of Registration from the U.S. Copyright
                 Office – Tribal Design [ALEXANDER000070‐71]
       6         Copyright registration application for Tribal Addition
                 design [ALEXANDER000001‐4, Alexander Depo
                 Exh 3]
       7         Copyright registration application for Dove design
                 [ALEXANDER000009‐14, Alexander Depo Exh 16]
       8         Copyright registration application for Rose design
                 [ALEXANDER000015‐19, Alexander Depo Exh 17]
       9         Copyright registration application for Skulls design
                 [ALEXANDER000020‐24, Alexander Depo Exh 18]
      10         Copyright registration application for Tribal design
                 [ALEXANDER000025‐28, Alexander Depo Exh 7]
      11         Photograph of Plaintiff and Mr. Orton
                 [ALEXANDER000036]
      12         Photograph of Plaintiff and Mr. Orton
                 [ALEXANDER000036]
      13         Sketch of Plaintiff’s dove tattoo design
                 [ALEXANDER000037, Alexander Depo Exh 12]
      14         Sketch of Plaintiff’s tribal addition tattoo design
                 [ALEXANDER000038, Alexander Depo Exh 5]
      15         Sketch of Plaintiff’s tribal addition tattoo design
                 [ALEXANDER000039, Alexander Depo Exh 6]
      16         Sketch of Plaintiff’s tribal addition tattoo design
                 [ALEXANDER000040, Alexander Depo Exh 4]
      17         Sketch of Plaintiff’s tribal design addition for Mr.
                 Orton’s tattoos arm(s) [ALEXANDER000041,
                 Alexander Depo Exh 8]
      18         Photograph of Mr. Orton with tattoos on arms
                 [ALEXANDER000043, Alexander Depo Exh 11]
      19         Photograph of Mr. Orton’s arm tattoos
                 [ALEXANDER000044, Alexander Depo Exh 10]

                                                  3
Case 3:18-cv-00966-SMY Document 261 Filed 02/08/22 Page 4 of 15 Page ID #4614




   Plaintiff’s
                                     Description                      Defendants’ Objections
  Exhibit No.
      20         Photograph of Mr. Orton’s upper arm tribal design
                 and partial view of back tribal addition
                 [ALEXANDER000045, Alexander Depo Exh 14]
      21         Photograph of Mr. Orton’s tattoos on arms
                 [ALEXANDER000046]
      22         Photograph of Mr. Orton’s upper arm and upper back
                 tribal tattoos [ALEXANDER000047]
      23         Photograph of Mr. Orton’s Rose arm tattoos
                 [ALEXANDER000048, Alexander Depo Exh 13]
      24         George Lopez show, interview of Mr. Orton
                 [ALEXANDER000050]
      25         Article: The 20 Coolest Tattoos in WWE History       Hearsay, Rule 703
                 [Zagal Depo Exh 3]                                   Inadmissible Expert
                                                                      Bases
      26         WWE 2K Franchise Sales Since Apr’2015 [TAKE‐         Rule 1002 Not Original
                 TWO_0000982, Snyder Depo Exh 9]                      Document, Rule 106
                                                                      Incomplete Document,
                                                                      Rule 403
      27         WWE 2K Franchise Sales Since Apr’2015 [TAKE‐         Rule 1002 Not Original
                 TWO_0000983, Snyder Depo Exh 10]                     Document, Rule 106
                                                                      Incomplete Document,
                                                                      Rule 403
      28         WWE 2K Franchise Sales Since Apr’2015 [TAKE‐         Rule 1002 Not Original
                 TWO_0001332, Snyder Depo Exh 11]                     Document, Rule 106
                                                                      Incomplete Document,
                                                                      Rule 403
      29         License between Take‐Two Interactive Software,
                 Inc. and World Wrestling Entertainment [TAKE‐
                 TWO_0000498‐542, Little Depo Exh 2]
      30         Amendment 1 to License between Take‐Two
                 Interactive Software, Inc. and World Wrestling
                 Entertainment [TAKE‐TWO_0000543‐559, Little
                 Depo Exh 3]
      31         Master Development Agreement between Yuke’s
                 Co., Ltd. and World Wrestling Entertainment
                 [TAKE‐TWO_0000560‐609, Little Depo Exh 4]
      32         Images of Mr. Orton [TAKE‐TWO_0000798‐822,
                 Little Depo Exh 5]



                                               4
Case 3:18-cv-00966-SMY Document 261 Filed 02/08/22 Page 5 of 15 Page ID #4615




   Plaintiff’s
                                    Description                       Defendants’ Objections
  Exhibit No.
      33         Images of Mr. Orton [TAKE‐TWO_0000909‐929,
                 Little Depo Exh 6]
      34         Screenshot of WWE 2K16 video of Mr. Orton’s
                 tattoos [TAKE‐TWO_0000481, Little Depo Exh 7]
      35         IndianVideoGamer.com Interview: WWE 2K18             Hearsay
                 Executive Producer Mark Little [Little Depo Exh 8]
      36         United States Securities and Exchange Commission – Relevance, Rule 403
                 Form 10‐K for Take‐Two Interactive Software, Inc.
                 for the fiscal year ended March 31, 2018 [Clark Depo
                 Exh 4]
      37         Opening Expert Report of Jose Zagal dated            Hearsay, Inadmissible
                 November 15, 2018                                    Expert Report
      38         Exhibit A to Opening Expert Report of Jose Zagal     Hearsay
      39         Supplemental Expert Report of Jose Zagal dated       Hearsay, Inadmissible
                 February 4, 2019                                     Expert Report
      40         Reserved
      41         Reserved
      42         Physical copy of WWE 2K16, XBOX ONE format
                 [M. Little’s Declaration, Doc 142‐1]
      43         Packaging and insert of WWE 2K16 XBOX ONE
                 format [M. Little’s Declaration, Doc 142‐1]
      44         Physical copy of WWE 2K17, XBOX ONE format
                 [M. Little’s Declaration, Doc 142‐1]
      45         Packaging and insert of WWE 2K17 XBOX One
                 format [M. Little’s Declaration, Doc 142‐1]
      46         Physical copy of WWE 2K18, XBOX ONE format
                 [M. Little’s Declaration, Doc 142‐1]
      47         Packaging and insert of WWE 2K18 XBOX One
                 format [M. Little’s Declaration, Doc 142‐1]
      48         Physical copy of WWE 2K16, Sony PlayStation 4
                 format [TAKE‐TWO_0000001]
      49         Packaging and Insert of WWE 2K16 Sony
                 PlayStation 4 format [TAKE‐TWO_0000001]
      50         Physical copy of WWE 2K17, Sony PlayStation 4
                 format [TAKE‐TWO_0000002]
      51         Packaging and Insert of WWE 2K17 Sony
                 PlayStation 4 format [TAKE‐TWO_0000002]


                                               5
Case 3:18-cv-00966-SMY Document 261 Filed 02/08/22 Page 6 of 15 Page ID #4616




   Plaintiff’s
                                     Description                         Defendants’ Objections
  Exhibit No.
      52         Physical copy of WWE 2K18, Sony PlayStation 4
                 format [TAKE‐TWO_0000003]
      53         Packaging and Insert of WWE 2K18 Sony Play
                 Station 4 format [TAKE‐TWO_0000003]
      54         WWE Source Product Submission #3540 [Kiang              Relevance
                 Depo Exh 4; WWE_Alexander0000109]
      55         WWE Source Product Submission #17984 [Kiang             Relevance
                 Depo Exh 5; WWE_Alexander0000207]
      56         WWE Source Product Submission #4073 [Kiang              Relevance
                 Depo Exh 6; WWE_Alexander0000112]
      57         Bryce Yang’s 8‐6‐14 Email Chain [Kiang depo Exh         Hearsay, Relevance, Rule
                 7; WWE_Alexander0000094]                                403
      58         Screenshot of WWE 2K15 video of Mr. Orton’s             Hearsay, Relevance, Rule
                 tattoos [WWE_Alexander_0000098]                         403
      59         Screenshot of WWE 2K17 video of Mr. Orton’s
                 tattoos [WWE_Alexander_0000166]
      60         Video of Mr. Orton’s videogame character [TAKE‐
                 TWO_0000823.M4V]
      61         Video of Mr. Orton from WWE 2K Game
                 [WWE_Alexander0000172.m4v]
      62         Video of Mr. Orton from WWE 2K Game
                 [WWE_Alexander0000180.m4v]
      63         Trailer for WWE 2K17 containing Mr. Orton
                 [WWE_Alexander0000200.mp4]
      64         Trailer for WWE 2K16 containing Mr. Orton
                 [TAKE‐TWO_0000481.mp4]
      65         Capture from the videogame WWE 2K16 depicting           Rule 1002 Not Original
                 the infringing Rose tattoo on Randy Orton’s in game     Document, Rule 106
                 character model [M. Little’s Declaration, Doc 142‐1;    Incomplete Document,
                 TAKE‐TWO_0000001]                                       Rule 403
      66         Capture from the videogame WWE 2K16 depicting           Rule 1002 Not Original
                 the infringing dove tattoo on Randy Orton’s in game     Document, Rule 106
                 character model [M. Little’s Declaration, Doc 142‐1;    Incomplete Document,
                 TAKE‐TWO_0000001]                                       Rule 403
      67         Capture from the videogame WWE 2K16 depicting           Rule 1002 Not Original
                 the infringing skulls tattoo on Randy Orton’s in game   Document, Rule 106
                 character model [M. Little’s Declaration, Doc 142‐1;    Incomplete Document,
                 TAKE‐TWO_0000001]                                       Rule 403


                                                6
Case 3:18-cv-00966-SMY Document 261 Filed 02/08/22 Page 7 of 15 Page ID #4617




   Plaintiff’s
                                     Description                          Defendants’ Objections
  Exhibit No.
      68         Capture from the videogame WWE 2K16 depicting            Rule 1002 Not Original
                 the infringing tribal tattoo on Randy Orton’s in game    Document, Rule 106
                 character model [M. Little’s Declaration, Doc 142‐1;     Incomplete Document,
                 TAKE‐TWO_0000001]                                        Rule 403
      69         Capture from the videogame WWE 2K16 depicting            Rule 1002 Not Original
                 the infringing tribal addition tattoo on Randy Orton’s   Document, Rule 106
                 in game character model [M. Little’s Declaration,        Incomplete Document,
                 Doc 142‐1; TAKE‐TWO_0000001]                             Rule 403
      70         Capture from the videogame WWE 2K17 depicting            Rule 1002 Not Original
                 the infringing Rose tattoo on Randy Orton’s in game      Document, Rule 106
                 character model [M. Little’s Declaration, Doc 142‐1;     Incomplete Document,
                 TAKE‐TWO_0000002]                                        Rule 403
      71         Capture from the videogame WWE 2K17 depicting            Rule 1002 Not Original
                 the infringing dove tattoo on Randy Orton’s in game      Document, Rule 106
                 character model [M. Little’s Declaration, Doc 142‐1;     Incomplete Document,
                 TAKE‐TWO_0000002]                                        Rule 403
      72         Capture from the videogame WWE 2K17 depicting            Rule 1002 Not Original
                 the infringing skulls tattoo on Randy Orton’s in game    Document, Rule 106
                 character model [M. Little’s Declaration, Doc 142‐1;     Incomplete Document,
                 TAKE‐TWO_0000002]                                        Rule 403
      73         Capture from the videogame WWE 2K17 depicting            Rule 1002 Not Original
                 the infringing tribal tattoo on Randy Orton’s in game    Document, Rule 106
                 character model [M. Little’s Declaration, Doc 142‐1;     Incomplete Document,
                 TAKE‐TWO_0000002]                                        Rule 403
      74         Capture from the videogame WWE 2K17 depicting            Rule 1002 Not Original
                 the infringing tribal addition tattoo on Randy Orton’s   Document, Rule 106
                 in game character model [M. Little’s Declaration,        Incomplete Document,
                 Doc 142‐1; TAKE‐TWO_0000002]                             Rule 403
      75         Capture from the videogame WWE 2K18 depicting            Rule 1002 Not Original
                 the infringing Rose tattoo on Randy Orton’s in game      Document, Rule 106
                 character model [M. Little’s Declaration, Doc 142‐1;     Incomplete Document,
                 TAKE‐TWO_0000003]                                        Rule 403
      76         Capture from the videogame WWE 2K18 depicting            Rule 1002 Not Original
                 the infringing dove tattoo on Randy Orton’s in game      Document, Rule 106
                 character model [M. Little’s Declaration, Doc 142‐1;     Incomplete Document,
                 TAKE‐TWO_0000003]                                        Rule 403
      77         Capture from the videogame WWE 2K18 depicting            Rule 1002 Not Original
                 the infringing skulls tattoo on Randy Orton’s in game    Document, Rule 106
                 character model [M. Little’s Declaration, Doc 142‐1;     Incomplete Document,
                 TAKE‐TWO_0000003]                                        Rule 403


                                                 7
Case 3:18-cv-00966-SMY Document 261 Filed 02/08/22 Page 8 of 15 Page ID #4618




   Plaintiff’s
                                      Description                         Defendants’ Objections
  Exhibit No.
      78         Capture from the videogame WWE 2K18 depicting            Rule 1002 Not Original
                 the infringing tribal tattoo on Randy Orton’s in game    Document, Rule 106
                 character model [M. Little’s Declaration, Doc 142‐1;     Incomplete Document,
                 TAKE‐TWO_0000003]                                        Rule 403
      79         Capture from the videogame WWE 2K18 depicting            Rule 1002 Not Original
                 the infringing tribal addition tattoo on Randy Orton’s   Document, Rule 106
                 in game character model [M. Little’s Declaration,        Incomplete Document,
                 Doc 142‐1; TAKE‐TWO_0000003]                             Rule 403
      80         Photographs of the rose tattoo on Randy Orton
                 [ALEXANDER000018‐19]
      81         Photographs of the dove tattoo on Randy Orton
                 [ALEXANDER000012‐14]
      82         Photographs of the skulls tattoo on Randy Orton
                 [ALEXANDER000023‐24]
      83         Photographs of the tribal tattoo on Randy Orton
                 [ALEXANDER000028]
      84         Photographs of the tribal addition tattoo on Randy
                 Orton [ALEXANDER000004]
      85         World Wrestling Entertainment, Inc.'s Objections         Relevance, Rule 403
                 and Responses to Plaintiff's First Set of
                 Interrogatories dated August 17, 2018
      86         World Wrestling Entertainment, Inc.’s Objections         Relevance, Rule 403
                 and Responses to Plaintiff’s First Set of Requests for
                 Admission dated August 17, 2018
      87         Defendant World Wrestling Entertainment, Inc.’s          Relevance, Rule 403
                 Objections to Plaintiff’s Second Set of Requests for
                 Admission dated October 15, 2018
      88         Defendant World Wrestling Entertainment, Inc.’s          Relevance, Rule 403
                 Objections to Plaintiff’s First Set of Requests for
                 Production dated October 15, 2018
      89         Defendant World Wrestling Entertainment, Inc.’s          Relevance, Rule 403
                 Objections to Plaintiff’s Second Set of
                 Interrogatories dated October 15, 2018
      90         Defendant World Wrestling Entertainment, Inc.’s          Relevance, Rule 403
                 Objections To Plaintiff’s Second Set of Requests for
                 Production dated November 19, 2018




                                                 8
Case 3:18-cv-00966-SMY Document 261 Filed 02/08/22 Page 9 of 15 Page ID #4619




   Plaintiff’s
                                      Description                         Defendants’ Objections
  Exhibit No.
      91         Defendant World Wrestling Entertainment, Inc.’s          Relevance, Rule 403
                 Supplemental Objections and Responses to
                 Plaintiff’s First Set of Requests for Production dated
                 May 15, 2020
      92         Defendant World Wrestling Entertainment, Inc.’s          Relevance, Rule 403
                 Supplemental Objections and Responses to
                 Plaintiff’s Second Set of Interrogatories dated May
                 15, 2020
      93         Defendant World Wrestling Entertainment, Inc.’s          Relevance, Rule 403
                 Supplemental Objections and Responses to Plaintiff’s
                 Second Set of Requests for Admission dated May 15,
                 2020
      94         Defendant Take‐Two Interactive Software, Inc.’s          Relevance, Rule 403
                 Objections and Responses to Plaintiff Catherine
                 Alexander’s First Set of Requests for Admission
                 dated October 15, 2018
      95         Defendant 2K Games, Inc.’s Objections and                Relevance, Rule 403
                 Responses to Plaintiff Catherine Alexander’s First
                 Set of Requests for Admission dated October 15,
                 2018
      96         Defendant 2K Sports, Inc.’s Objections and               Relevance, Rule 403
                 Responses to Plaintiff Catherine Alexander’s First
                 Set of Requests for Admission dated October 15,
                 2018
      97         Defendant Visual Concepts Entertainment’s                Relevance, Rule 403
                 Objections and Responses to Plaintiff Catherine
                 Alexander’s First Set of Requests for Admission
                 dated October 15, 2018
      98         Defendants Take‐Two Interactive Software, Inc., 2K       Relevance, Rule 403
                 Games, Inc., 2K Sports, Inc., and Visual Concepts
                 Entertainment’s Objections and Responses to
                 Plaintiff Catherine Alexander’s First Set of Requests
                 for Production dated October 15, 2018
      99         Defendants Take‐Two Interactive Software, Inc., 2K       Relevance, Rule 403
                 Games, Inc., 2K Sports, Inc., and Visual Concepts
                 Entertainment’s Objections and Responses to
                 Plaintiff Catherine Alexander’s First Set of
                 Interrogatories dated October 15, 2018




                                                 9
Case 3:18-cv-00966-SMY Document 261 Filed 02/08/22 Page 10 of 15 Page ID #4620




   Plaintiff’s
                                    Description                       Defendants’ Objections
  Exhibit No.
      100        Defendants Take‐Two Interactive Software, Inc., 2K   Relevance, Rule 403
                 Games, Inc., 2K Sports, Inc., and Visual Concepts
                 Entertainment’s Objections and Responses to
                 Plaintiff Catherine Alexander’s Second Set of
                 Requests for Production dated November 19, 2018
      101        Defendants Take‐Two Interactive Software, Inc., 2K Relevance, Rule 403
                 Games, Inc., 2K Sports, Inc., and Visual Concepts
                 Entertainment’s Objections and Responses to
                 Plaintiff Catherine Alexander’s Third Set of Requests
                 for Production dated October 11, 2019
      102        Defendants Take‐Two Interactive Software, Inc., 2K   Relevance, Rule 403
                 Games, Inc., 2K Sports, Inc., and Visual Concepts
                 Entertainment’s Objections and Responses to
                 Plaintiff Catherine Alexander’s Second Set of
                 Requests for Admissions dated October 11, 2019
      103        Cover art for WWE 2K12 depicting Randy Orton         Relevance, Rule 403
      104        WWE 2K16 video [TAKE-TWO_0000177.mp4]
      105        WWE 2K16 video [TAKE-TWO_0000178.mp4]
      106        WWE 2K17 video [TAKE-TWO_0000179.mp4]
      107        WWE 2K17 video [TAKE-TWO_0000180.mp4]
      108        WWE 2K18 video [TAKE-TWO_0000181.mp4]
      109        WWE 2K18 video [TAKE-TWO_0000182.mp4]
      110        WWE 2K17 video [TAKE-TWO_0000471.mp4]
      111        WWE 2K18 video [TAKE-TWO_0000472.mp4]
      112        WWE 2K18 video [TAKE-TWO_0000473.mp4]
      113        WWE 2K16 video [TAKE-TWO_0000474.mp4]
      114        WWE 2K18 video [TAKE-TWO_0000475.mp4]
      115        WWE 2K17 video [TAKE-TWO_0000476.mp4]
      116        WWE 2K17 video [TAKE-TWO_0000477.mp4]
      117        WWE 2K16 video [TAKE-TWO_0000478.mp4]
      118        WWE 2K16 video [TAKE-TWO_0000479.mp4]
      119        WWE 2K17 video [TAKE-TWO_0000480.mp4]
      120        WWE 2K17 video [TAKE-TWO_0000482.mp4]
      121        WWE 2K16 video [TAKE-TWO_0000483.mp4]
      122        WWE 2K17 video [TAKE-TWO_0000484.mp4]
      123        WWE 2K18 video [TAKE-TWO_0000485.mp4]

                                              10
Case 3:18-cv-00966-SMY Document 261 Filed 02/08/22 Page 11 of 15 Page ID #4621




   Plaintiff’s
                                    Description                     Defendants’ Objections
  Exhibit No.
      124        WWE 2K17 video [TAKE-TWO_0000486.mp4]
      125        WWE 2K17 video [TAKE-TWO_0000487.mp4]
      126        WWE 2K17 video [TAKE-TWO_0000488.mp4]
      127        WWE 2K17 video [TAKE-TWO_0000489.mp4]
      128        WWE 2K16 video [TAKE-TWO_0000490.mp4]
      129        WWE 2K18 video [TAKE-TWO_0000491.mp4]
      130        WWE 2K17 video [TAKE-TWO_0000492.mp4]
      131        WWE 2K18 video [TAKE-TWO_0000493.mp4]
      132        WWE 2K18 video [TAKE-TWO_0000494.mp4]
      133        WWE 2K18 video [TAKE-TWO_0000495.mp4]
      134        WWE 2K18 video [TAKE-TWO_0000496.mp4]
      135        360 video of Randy Orton character [TAKE-
                 TWO_0000930.mp4]
      136        360 video of Randy Orton character
                 [WWE_Alexander0000111.mp4]
      137        360 video of Randy Orton character
                 [WWE_Alexander0000131.mp4]
      138        360 video of Randy Orton character
                 [WWE_Alexander0000134.mp4]
      139        WWE 2K16 walk out video of Randy Orton
                 character [WWE_Alexander0000139.mp4]
      140        WWE 2K16 video [WWE_Alexander0000147.mp4]
      141        WWE 2K16 video [WWE_Alexander0000150.mp4]
      142        360 video of Randy Orton character
                 [WWE_Alexander0000154.mp4]
      143        360 video of Randy Orton character
                 [WWE_Alexander0000161.mp4]
      144        360 video of Randy Orton character
                 [WWE_Alexander0000205.mp4]
      145        360 video of Randy Orton character
                 [WWE_Alexander0000206.mp4]
      146        Reserved
      147        Reserved
      148        WWE’s Supplemental Responses to Plaintiff’s        Relevance, Rule 403
                 Interrogatory Nos. 2, 10 and 11 once produced by
                 WWE

                                               11
Case 3:18-cv-00966-SMY Document 261 Filed 02/08/22 Page 12 of 15 Page ID #4622




   Plaintiff’s
                                       Description                           Defendants’ Objections
  Exhibit No.
       149        Reserved
       150        Video compilation of selected game play sessions
                  from WWE 2K16. Plaintiff intends to introduce all or
                  part of this video compilation and/or screenshots
                  therefrom. [M. Little’s Declaration, Doc 142-24,
                  WWE2K16 Xbox Game]
       151        Video compilation of selected game play sessions
                  from WWE 2K17. Plaintiff intends to introduce all or
                  part of this video compilation and/or screenshots
                  therefrom. [M. Little’s Declaration, Doc 142-25,
                  WWE2K17 Xbox Game]
       152        Video compilation of selected game play sessions
                  from WWE 2K18. Plaintiff intends to introduce all or
                  part of this video compilation and/or screenshots
                  therefrom. [M. Little’s Declaration, Doc 142-26,
                  WWE2K18 Xbox Game]
       153        Video compilation of selected game play sessions
                  from WWE 2K16 (selections from Exhibit 150)
       154        Video compilation of selected game play sessions
                  from WWE 2K17 (selections from Exhibit 151)
       155        Video compilation of selected game play sessions
                  from WWE 2K18 (selections from Exhibit 152)

        Defendants reserve the right to use discovery answers, pleadings, any other documents

 exchanged in discovery, and any and all exhibits designated by Plaintiff if the need arises.

 Defendants reserve the right to use any materials brought to Court by any witness.

        Defendants further reserve the right to utilize demonstrative exhibits, including without

 limitation illustrations, summaries, charts, models, computer animations, PowerPoint

 presentations, videos, and enlargements of portions of exhibits.

        Defendants preserve all objections to any and all exhibits identified and/or offered by

 Plaintiff. Defendants specifically preserve the right to object on the basis of any later-filed or

 granted motion in limine, any stipulations made by the parties (see Dkt. No. 211), or any further

 order of the Court. Defendants specifically preserve the right to object to the introduction of any

                                                  12
Case 3:18-cv-00966-SMY Document 261 Filed 02/08/22 Page 13 of 15 Page ID #4623




 exhibit for lack of personal knowledge by the sponsoring witness and/or failure to lay

 appropriate foundation for the exhibit to be introduced. Defendants are unaware at this time of

 any additional exhibits that they may offer, but reserve the right to present rebuttal or

 impeachment evidence as necessary.



 Dated: February 8, 2022                       Respectfully submitted,

                                               /s/ Dale M. Cendali
                                               Dale M. Cendali (admitted pro hac vice)
                                               Joshua L. Simmons (admitted pro hac vice)
                                               Patrick K. Arnett (admitted pro hac vice)
                                               Christopher T. Ilardi (admitted pro hac vice)
                                               Miranda D. Means (admitted pro hac vice)
                                               Kirkland & Ellis LLP
                                               601 Lexington Avenue
                                               New York, New York 10022
                                               Telephone: (212) 446-4800
                                               dale.cendali@kirkland.com
                                               joshua.simmons@kirkland.com
                                               patrick.arnett@kirkland.com
                                               christopher.ilardi@kirkland.com
                                               miranda.means@kirkland.com

                                               Michael J. Nester (#02037211)
                                               Donovan Rose Nester P.C.
                                               15 North 1st Street, Suite A
                                               Belleville, Illinois 62220
                                               Telephone: (618) 212-6500
                                               mnester@drnpc.com

                                               Attorneys for Defendants 2K Games, Inc., 2K
                                               Sports, Inc., Take-Two Interactive Software,
                                               Inc., and Visual Concepts Entertainment

                                               /s/ Curtis Krasik
                                               Jerry McDevitt (admitted pro hac vice)
                                               Curtis Krasik (admitted pro hac vice)
                                               K&L Gates LLP
                                               210 Sixth Avenue
                                               Pittsburgh, Pennsylvania 15222
                                               Telephone: (412) 355-8608
                                               jerry.mcdevitt@klgates.com
                                               curtis.krasik@klgates.com

                                                  13
Case 3:18-cv-00966-SMY Document 261 Filed 02/08/22 Page 14 of 15 Page ID #4624




                                   Michael J. Nester (#02037211)
                                   Donovan Rose Nester P.C.
                                   15 North 1st Street, Suite A
                                   Belleville, Illinois 62220
                                   Telephone: (618) 212-6500
                                   mnester@drnpc.com

                                   Attorneys for World Wrestling Entertainment,
                                   Inc.




                                      14
Case 3:18-cv-00966-SMY Document 261 Filed 02/08/22 Page 15 of 15 Page ID #4625




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS
                            EAST ST. LOUIS DIVISION

CATHERINE ALEXANDER,                   )
                                       )
            Plaintiff,                 )
                                       )
     -vs-                              )
                                       )
TAKE-TWO INTERACTIVE SOFTWARE, INC., )
2K GAMES, INC.; 2K SPORTS, INC.; WORLD )           Case No. 3:18-cv-966-SMY
WRESTLING ENTERTAINMENT, INC.;         )
VISUAL CONCEPTS ENTERTAINMENT;         )
YUKE’S CO., LTD.; AND YUKE’S LA, INC., )
                                       )
                                       )
            Defendants.                )

                             CERTIFICATE OF SERVICE

        I hereby certify that on February 8, 2022, I electronically filed the foregoing
 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S FIRST AMENDED RULE 26(a)(3)
 PRETRIAL DISCLOSURES with the Clerk of the Court using the CM/ECF system, which will
 send notification of such filing to the following:
                 Anthony G. Simon           asimon@simonlawpc.com
                 Benjamin R. Askew          baskew@simonlawpc.com
                 Anthony R. Friedman        afriedman@simonlawpc.com
                 R. Seth Crompton           scrompton@hollandtriallawyers.com
                 Paul Joseph Tahan          ptahan@simonlawpc.com


                                             /s/ Dale M. Cendali
                                             Dale M. Cendali (admitted pro hac vice)
                                             Kirkland & Ellis LLP
                                             601 Lexington Avenue
                                             New York, New York 10022
                                             Telephone: (212) 446-4800


                                             Attorney for Defendants 2K Games, Inc., 2K
                                             Sports, Inc., Take-Two Interactive Software, Inc.,
                                             and Visual Concepts Entertainment
